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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 0:21-CV-60784-WPD

  MARIANA CARDOSO, individually and
  on behalf of all others similarly situated,                      CLASS ACTION

          Plaintiff,                                               JURY TRIAL DEMANDED

  v.

  WHIRPOOL CORPORATION,

        Defendant.
  ____________________________________/

                         FIRST AMENDED CLASS ACTION COMPLAINT

          Plaintiff Mariana Cardoso brings this class action against Defendant Whirlpool Corporation,

  and alleges as follows upon personal knowledge as to Plaintiff and Plaintiff’s own acts and experiences,

  and, as to all other matters, upon information and belief, including investigation conducted by Plaintiff’s

  attorneys.

                                      NATURE OF THE ACTION

          1.      This is a class action under the Florida Security of Communications Act, Fla. Stat.

  Ann. § 934.01, et seq. (“FSCA”), arising from Defendant’s unlawful interception of Plaintiff’s and

  Class members’ electronic communications.

          2.      The FSCA was enacted in 1969. In 1988, the statute was substantially amended to

  “extend the protection provided oral communications to communications using new technologies,

  such as cellular phones, voice mail, and computer-to-computer data transfer.” 1988 Summary of

  General Legislation, available at FlSumGenLeg1988.pdf (fsu.edu) (last accessed Mar. 3, 2021);

  see also State v. Jackson, 650 So. 2d 24 (Fla. 1995).




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         3.      The 1988 amendment to the FSCA was consistent with a similar amendment to the

  Federal Wiretap Act. Congress amended the Federal Wiretap Act in 1986 because of “dramatic

  changes in new computer and telecommunications technologies.” Sen. Rep. No. 99-541, at 1

  (1986). According to Congress, “the law must advance with the technology to ensure the

  continued vitality of the fourth amendment Privacy cannot be left to depend solely on physical

  protection, or it will gradually erode as technology advances. Congress must act to protect the

  privacy of our citizens. If we do not, we will promote the gradual erosion of this precious right.”

  Id. at 5. Thus, Congress swiftly acted to pass a law that would be able to keep up with such

  technological advances well into the future and protect consumer privacy, and the Florida

  legislature followed suit with an even more restrictive statute that broadly defines the protected

  communications and requires two-party consent.

         4.      At issue in this case is Defendant’s use of “session replay” software to intercept

  Plaintiff’s and the Class members’ electronic computer-to-computer data communications with

  Defendant’s website, including how they interact with the website, their mouse movements and

  clicks, keystrokes, search terms, information inputted into the website, and pages and content

  viewed while visiting the website.      Defendant intercepted, stored, and recorded electronic

  communications regarding the webpages visited by Plaintiff and the Class members, as well as

  everything Plaintiff and the Class members did on those pages, e.g., what they searched for, what

  they looked at, and the information they inputted.

         5.      Defendant intercepted the electronic communications at issue without the

  knowledge or prior consent of Plaintiff or the Class members. Defendant did so for its own

  financial gain and in violation of Plaintiff’s and the Class members’ substantive legal privacy

  rights under the FSCA. Such clandestine monitoring and recording of an individual’s electronic



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  communications has long been held to be a violation of the FSCA. See, e.g., O’Brien v. O’Brien,

  899 So. 2d 1133, 1134 (Fla. 5th DCA 2005) (holding that FSCA prohibited use of software that

  “secretly took snapshots of what appeared on the computer screen…to capture and record all chat

  conversations, instant messages, e-mails sent and received, and the websites visited by the user of

  the computer.”).

          6.      The “session replay” software utilized by Defendant is not a traditional website

  cookie or analytics tool.      It is a sophisticated computer code that allows Defendant to

  contemporaneously intercept, capture, read, observe, re-route, forward, redirect, and receive

  incoming electronic communications to its website. Plaintiff’s and the Class members’ electronic

  communications are then stored by Defendant using an outside vendor’s services and can later be

  viewed and utilized by Defendant to create a session replay, which is essentially a video of a Class

  member’s entire visit to Defendant’s website.

          7.      “Technological advances[,]” such as Defendant’s use of session replay technology,

  “provide ‘access to a category of information otherwise unknowable’ and ‘implicate privacy

  concerns’ in a manner different from traditional intrusions as a ‘ride on horseback’ is different

  from ‘a flight to the moon.’” Patel v. Facebook, Inc., 932 F.3d 1264, 1273 (9th Cir. 2019) (quoting

  Riley v. California, 573 U.S. 373, 393 (2014)).

          8.      Unlike typical website analytics services that provide aggregate statistics, the

  session replay technology utilized by Defendant is intended to record and playback individual

  browsing sessions, as if someone is looking over a Class members’ shoulder when visiting

  Defendant’s website.      The technology also permits companies like Defendant to view the

  interactions of visitors on their website in live in real-time.




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         9.      The following screenshots provide an example of a typical recording of a visit to a

  website captured utilizing session replay software, which includes mouse movements, keystrokes

  and clicks, search terms, content viewed, and information inputted by the website visitor:

  Mouse Movements, Keystrokes, and Clicks:




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  Information Inputted During Live Website Session:




          10.     The purported use of session replay technology is to monitor and discover broken

  website features. However, the extent and detail of the data collected by users of the technology,

  including Defendant, far exceeds the stated purpose and Plaintiff’s and the Class members’

  expectations when visiting websites like Defendant’s. The technology not only allows the

  recording and viewing of a visitor’s electronic communications with a website, but also allows the

  user to create a detailed profile for each visitor to the site.

          11.     Moreover, the collection and storage of page content by such session replay scripts

  may cause sensitive information and other personal information displayed on a page to leak to

  third parties. This may expose website visitors to identity theft, online scams, and other unwanted

  behavior.


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         12.      In 2019, Apple warned application developers using session replay technology that

  they were required to disclose such tracking and recording to their users, or face being immediately

  removed from the Apple Store: “Protecting user privacy is paramount in the Apple ecosystem. Our

  App Store Review Guidelines require that apps request explicit user consent and provide a clear

  visual indication when recording, logging, or otherwise making a record of user activity.”

  https://techcrunch.com/2019/02/07/apple-glassbox-apps/; (last visited Mar. 16, 2021).

         13.      Consistent with Apple’s concerns, countless articles have been written about the

  privacy implications of recording user interactions during a visit to a website, including the

  following examples:

               (a) The Dark Side of ‘Replay Sessions’ That Record Your Every Move Online,

                  located   at   https://www.wired.com/story/the-dark-side-of-replay-sessions-that-

                  record-your-every-move-online/; (last visited Mar. 16, 2021);

               (b) Session-Replay Scripts Disrupt Online Privacy in a Big Way, located at

                  https://www.techrepublic.com/article/session-replay-scripts-are-disrupting-online-

                  privacy-in-a-big-way/play scripts disrupt online privacy in a big way; (last visited

                  Mar. 16, 2021);

               (c) Are Session Recording Tools a Risk to Internet Privacy?, located at

                  https://mopinion.com/are-session-recording-tools-a-risk-to-internet-privacy/

                  recording tools a risk to internet privacy?; (last visited Mar. 16, 2021);

               (d) Session Replay is a Major Threat to Privacy on the Web, located at

                  https://www.itnews.com.au/news/session-replay-is-a-major-threat-to-privacy-on-

                  the-web-477720; (last visited on Mar. 16, 2021);




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                (e) Session Replay Scripts Could be Leaking Sensitive Data, located at

                   https://medium.com/searchencrypt/session-replay-scripts-could-be-leaking-

                   sensitive-data-5433364b2161; (last visited on Mar. 16, 2021); and

                (f) Website Owners can Monitor Your Every Scroll and Click, located at

                   https://www.digitalinformationworld.com/2020/02/top-brands-and-websites-can-

                   monitor-your-every-scroll-and-click.html; (last visited Mar. 16, 2021).

          14.      In sum, Defendant intercepted the electronic communications of Plaintiff and the

  Class members through their visits to its website, causing them injuries, including violations of

  their substantive legal privacy rights under the FSCA, invasion of their privacy, and potential

  exposure of their private information.

          15.      Through this action, Plaintiff seeks injunctive relief to halt Defendant’s unlawful

  conduct. Plaintiff also seeks damages authorized by the FSCA on behalf of herself and the Class

  members, defined below, and any other available legal or equitable remedies to which they are

  entitled.

                                                 PARTIES

          16.      Plaintiff is, and at all times relevant hereto was, a citizen and permanent resident of

  Broward County, Florida.

          17.      Defendant is, and at all times relevant hereto was, a corporation duly organized and

  validly existing under the laws of the State of Delaware, and maintains its principal place of

  business in Michigan. Defendant is therefore a citizen of Delaware and Michigan.

                                     JURISDICTION AND VENUE

          18.      This Court has personal jurisdiction over Defendant because Defendant directs,

  markets, and provides its business activities throughout the State of Florida, and makes its website



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  available to residents of Florida. Further, this Court has personal jurisdiction over Defendant

  because Defendant’s tortious conduct against Plaintiff occurred in substantial part within this

  District and because Defendant committed the same wrongful acts to other individuals within this

  judicial District, such that some of Defendant’s acts have occurred within this District, subjecting

  Defendant to jurisdiction here. As Defendant has admitted, the Class consists of at least 5,000

  unique individuals who are located in Florida. Notice of Removal, [DE 1], at pg. 3. Defendant

  knew that it was intercepting the electronic communications of individuals residing in Florida and

  that it was causing harm to those individuals while they were in Florida.

         19.     This court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2) because at

  least one member of the putative class, including Plaintiff, is a citizen of Florida, and Defendant

  is a citizen of Delaware and Michigan, thus CAFA’s minimal diversity requirement is met.

  Additionally, Plaintiff seeks $1,000.00 in damages for each violation, which, when aggregated

  among a proposed class of over 5,000, exceeds the $5,000,000 threshold for federal court

  jurisdiction under the Class Action Fairness Act (“CAFA”). See also Notice of Removal at pg. 3.

         20.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) because

  Defendant is deemed to reside in any judicial district in which it is subject to personal jurisdiction,

  and because a substantial part of the events or omissions giving rise to the claim occurred in this

  District, and because Plaintiff was injured in this District.

                                                 FACTS

         21.     Defendant owns and operates the following website: www.whirlpool.com.

         22.     Over the past year, Plaintiff visited Defendant’s website approximately 6 times.

         23.     Plaintiff most recently visited Defendant’s website on or about October 2020.

         24.     Plaintiff was in Florida during each visit to Defendant’s website.



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            25.    During her visits to the website, Plaintiff’s computer and/or mobile device

  transmitted electronic communications in the form of instructions to Defendant’s computer servers

  utilized to operate the website. The commands were sent as messages instructing Defendant’s

  website what content was being viewed, clicked on, requested or inputted by Plaintiff. The

  commands sent by Plaintiff’s computer/mobile device to Defendant’s servers included, but were

  not limited to, the following actions taken by Plaintiff while on the website: mouse clicks and

  movements, keystrokes, search terms, information inputted by Plaintiff, and pages and content

  viewed by Plaintiff.

            26.    Plaintiff reasonably expected that her visits to Defendant’s website would be

  private and that Defendant would not be tracking, recording, and/or watching Plaintiff as she

  browsed and interacted with the website.

            27.    Upon information and belief, over at least the past two years, Defendant has had

  embedded within its website code and has continuously operated at least one session replay script1

  that was provided by a third party (a “Session Replay Provider”). The session replay script(s) was

  always active and intercepted every incoming data communication to Defendant’s website the

  moment a visitor accessed the site.

            28.    The Session Replay Provider(s) that provided the session replay script(s) to

  Defendant is not a provider of wire or electronic communication services, or an internet service

  provider.

            29.    Defendant is not a provider of wire or electronic communication services, or an

  internet service provider.




  1
      A script is a sequence of computer software instructions.
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          30.     Defendant’s use of session replay script(s) was not instrumental or necessary to the

   operation or function of Defendant’s website or business.

          31.     Defendant’s use of a session replay script(s) to intercept Plaintiff’s electronic

   communications was not instrumental or necessary to Defendant’s provision of any of its goods

   or services. Rather, the level and detail of information surreptitiously collected by Defendant

   indicates that the only purpose was to gain an unlawful understanding of the habits and preferences

   of users to its website, and the information collected was solely for Defendant’s own benefit.

          32.     Defendant’s use of a session replay script(s) to intercept Plaintiff’s electronic

   communications did not facilitate, was not instrumental, and was not incidental to the transmission

   of Plaintiff’s electronic communications with Defendant’s website.

          33.     Upon information and belief, during one or more of Plaintiff’s visits to Defendant’s

   website, Defendant utilized at least one session replay script to contemporaneously intercept the

   substance of Plaintiff’s electronic communications with Defendant’s website, including mouse

   clicks and movements, keystrokes, search terms, information inputted by Plaintiff, and pages and

   content viewed by Plaintiff. In other words, Defendant intercepted, stored, and recorded the

   webpages visited by Plaintiff, as well as everything Plaintiff did on those pages, what Plaintiff

   searched for, what Plaintiff looked at, and the information Plaintiff inputted.

          34.     The session replay script(s) utilized by Defendant contemporaneously intercepted

   the electronic computer-to-computer data communications between Plaintiff’s computer and/or

   mobile device and the computer servers and hardware utilized by Defendant to operate its website

   – as the communications were transmitted from Plaintiff’s computer and/or mobile device to

   Defendant’s computer servers and hardware – and copied and sent and/or re-routed the

   communications to a storage file within the Session Replay Provider(s)’s server(s).              The



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   intercepted data was transmitted contemporaneously to the Session Replay Provider(s) server(s)

   as it was sent from Plaintiff’s computer and/or mobile device.

          35.     The session replay script and software utilized by Defendant is not a website

   cookie, standard analytics tool, web beacon, or other similar technology.

          36.     Unlike the harmless collection of an internet protocol address, the data collected by

   Defendant identified specific information inputted and content viewed, and thus revealed

   personalized and sensitive information about Plaintiff’s Internet activity.

          37.     The data captured by Defendant was content generated through Plaintiff’s intended

   use, interaction, and communication with Defendant’s website relating to the substance, purport,

   and/or meaning of Plaintiff’s communications with the website, i.e., mouse clicks and movements,

   keystrokes, search terms, information inputted by Plaintiff, and pages and content clicked on and

   viewed by Plaintiff.

          38.     The session replay script(s) utilized by Defendant intercepted, copied, replicated,

   and sent the data in a manner that was undetectable by Plaintiff.

          39.     Plaintiff’s electronic data communications were then stored by Defendant and/or

   the Session Replay Provider(s).

          40.     The electronic data communications were not only intercepted and stored, but could

   also be used by Defendant to create a video playback of Plaintiff’s visit to the website.

   Additionally, the session replay technology utilized by Defendant gave Defendant the ability to

   view Plaintiff’s website visits live in real-time as they were occurring.

          41.     Defendant’s interception of Plaintiff’s electronic communications allowed

   Defendant to capture, observe, and divulge Plaintiff’s personal interests, browsing history, queries,

   and habits as he interacted with and browsed Defendant’s website.



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          42.     Upon information and belief, Defendant similarly intercepted the electronic

   communications thousands of individuals located in Florida who visited Defendant’s website.

          43.     Defendant did not utilize a telephone or telegraph instrument, equipment, or facility

   thereof to intercept Plaintiff’s and the Class members’ electronic communications at issue. Rather,

   Defendant utilized a script embedded within the code of its website, i.e., a text computer code

   instruction, to intercept the communications at issue.

          44.     The equipment utilized by Defendant to intercept Plaintiff’s and the Class members

   electronic communications was not able to track the physical movements of Plaintiff’s or the Class

   members bodies or any physical object.

          45.     Defendant never alerted or asked Plaintiff or the Class Members for permission to

   intercept, track, and/or record their visits to Defendant’s website.

          46.     Plaintiff and the Class members never consented to interception of their electronic

   communications by Defendant or anyone acting on Defendant’s behalf, and they were never given

   the option to opt out of Defendant’s tracking and recording.

          47.     At no point in time did Plaintiff or the Class members provide Defendant, its

   employees, or agents with consent to intercept their electronic communications.

          48.     At no point in time did Plaintiff or the Class members specifically, clearly, and

   unmistakably consent to Defendant’s tracking and recording of their electronic communications.

          49.     Plaintiff and the Class members did not have a reasonable opportunity to discover

   Defendant’s unlawful interceptions because Defendant did not disclose its interception nor seek

   consent from Plaintiff and the Class members prior to interception of their communications.




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           50.    Plaintiff and the Class members never clicked or otherwise agreed to any disclosure

   or consent form authorizing Defendant to intercept Plaintiff’s and the Class members’ electronic

   communications.

           51.    Defendant    intercepted   Plaintiff’s   and   the   Class   members’    electronic

   communications from the moment they landed on Defendant’s website, and before they had an

   opportunity to even consider consenting or agreeing to any privacy or terms of use policy on the

   website. In other words, Defendant’s unlawful interception occurred before Plaintiff and the Class

   members were given an opportunity to review, let alone consent, to any language that Defendant

   may claim purportedly authorized its violations of the FSCA or allow it to escape liability through

   arbitration.

           52.    Moreover, Defendant’s website failed to alert or otherwise notify Plaintiff and the

   Class members that Defendant would be utilizing session replay software to monitor and record

   their interactions with Defendant’s website.

           53.    Additionally, upon immediately landing on Defendant’s website, Plaintiff and the

   Class members were not alerted (through a pop-up notification or otherwise) that by entering the

   website Defendant would unilaterally attempt to bind them Defendant’s terms and policies or

   privacy policy. Indeed, the landing page to Defendant’s website not only fails to advise visitors

   that Defendant is intercepting their electronic communications, it does not contain any type of

   conspicuous disclosure regarding Defendant’s terms and policies or privacy policy.

           54.    Plaintiff and the Class members were not immediately required to click on any box

   or hyperlink containing Defendant’s terms and policies or privacy policy upon visiting the website

   or in order to navigate through the website.




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          55.        Plaintiff and the Class members were not placed on notice of Defendant’s terms

   and policies or privacy policy upon immediately visiting the website. Instead, Defendant’s terms

   and policies and privacy policy are buried at the bottom of Defendant’s website where Plaintiff

   and the Class members were unable to see them.

          56.        Defendant does not require visitors to its website to immediately and directly

   acknowledge that the visitor has read Defendant’s terms and policies or privacy policy before

   proceeding to the site. In other words, Defendant’s website does not immediately direct visitors

   to the site to the terms and policies or privacy policy, and does not require visitors to click on a

   box to acknowledge that they have reviewed the terms and conditions/policy in order to proceed

   to the website.

          57.        Upon information and belief, at least one of the purposes of Defendant’s

   interception of Plaintiff’s and the Class members’ electronic communications was to allow

   Defendant to learn of Plaintiff’s and the Class members’ personal preferences and likes, which

   would then be used to market Defendant’s services and goods to Plaintiff and the Class members.

          58.        Defendant’s surreptitious interception of Plaintiff’s and the Class members’

   electronic communications caused Plaintiff and the Class members harm, including violations of

   their substantive legal privacy rights under the FSCA, invasion of privacy, invasion of their rights

   to control information concerning their person, and/or the exposure of their private information.

   Moreover, Defendant’s tracking and collection practices caused harm and a material risk of harm

   to Plaintiff’s and the Class Members’ privacy and interest in controlling their personal information,

   habits, and preferences.




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                                            CLASS ALLEGATIONS

           PROPOSED CLASS

           59.        Plaintiff brings this lawsuit as a class action on behalf of all other similarly situated

   persons pursuant to Federal Rule of Civil Procedure 23. The “Class” that Plaintiff seeks to

   represent is defined as:

                      All persons residing within the State of Florida (1) who visited
                      Defendant’s website and (2) whose electronic communications were
                      intercepted by Defendant or on Defendant’s behalf (3) without
                      their prior consent.

           60.        Defendant and its employees or agents are excluded from the Class. Plaintiff

   reserves the right to modify or amend the Class definitions, as appropriate, during the course of

   this litigation.

           NUMEROSITY

           61.        The Class members are so numerous that individual joinder of all Class members

   is impracticable. As Defendant has conceded, it intercepted the electronic communications of over

   5,000 individuals. Class members may be notified of the pendency of this action by recognized,

   Court-approved notice dissemination methods, which may include notice on Defendant’s website,

   U.S. Mail, electronic mail, Internet postings, and/or published notice.

           62.        The identities of the Class members are unknown at this time and can be ascertained

   only through discovery. Identification of the Class members is a matter capable of ministerial

   determination from Defendant’s records kept in connection with its unlawful interceptions.

           COMMON QUESTIONS OF LAW AND FACT

           63.        There are numerous questions of law and fact common to the Class which

   predominate over any questions affecting only individual members of the Class. Among the

   questions of law and fact common to the Class are:

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                       (1) Whether Defendant violated the FSCA;

                       (2) Whether Defendant intercepted Plaintiff’s and the Class members’

                          electronic communications;

                       (3) Whether Defendant disclosed to Plaintiff and the Class Members that it was

                          intercepting their electronic communications;

                       (4) Whether Defendant secured prior consent before intercepting Plaintiff’s

                          and the Class members’ electronic communications;

                       (5) Whether Defendant is liable for damages, and the amount of such damages;

                          and

                       (6) Whether Defendant should be enjoined from such conduct in the future.

          64.     The common questions in this case are capable of having common answers. If

   Plaintiff’s claim that Defendants routinely intercepts electronic communications without securing

   prior consent is accurate, Plaintiff and the Class members will have identical claims capable of

   being efficiently adjudicated and administered in this case.

          TYPICALITY

          65.     Plaintiff’s claims are typical of the claims of the Class members, as they are all

   based on the same factual and legal theories.

          PROTECTING THE INTERESTS OF THE CLASS MEMBERS

          66.     Plaintiff is a representative who will fully and adequately assert and protect the

   interests of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate

   representative and will fairly and adequately protect the interests of the Class.




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             SUPERIORITY

             67.   A class action is superior to all other available methods for the fair and efficient

   adjudication of this lawsuit because individual litigation of the claims of all members of the Class

   is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

   by the Class are potentially in the millions of dollars, the individual damages incurred by each

   member of the Class resulting from Defendant’s wrongful conduct are too small to warrant the

   expense of individual lawsuits. The likelihood of individual Class members prosecuting their own

   separate claims is remote, and, even if every member of the Class could afford individual litigation,

   the court system would be unduly burdened by individual litigation of such cases.

             68.   The prosecution of separate actions by members of the Class would create a risk of

   establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For

   example, one court might enjoin Defendant from performing the challenged acts, whereas another

   may not. Additionally, individual actions may be dispositive of the interests of the Class, although

   certain class members are not parties to such actions.

                                              COUNT I
                           Violations of the FSCA, Fla. Stat. Ann. § 934.03
                                 (On Behalf of Plaintiff and the Class)

             69.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

   herein.

             70.   It is a violation of the FSCA to intercept, endeavor to intercept, or procure any other

   person to intercept or endeavor to intercept any electronic communication. Fla. Stat. Ann. §

   934.03(1)(a).

             71.   Further, it is a violation to intentionally use, or endeavor to use, “the contents of

   any wire, oral, or electronic communication, knowing or having reason to know that the



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   information was obtained through the interception of a wire, oral, or electronic communication in

   violation of this subsection[.]” Fla. Stat. Ann. § 934.03(1)(d).

          72.     The FSCA defines “intercept” as the “acquisition of the contents of any wire,

   electronic, or oral communication through the use of any electronic, mechanical, or other device.”

   Fla. Stat. Ann. § 934.02(3).

          73.     Under the FSCA, “contents” includes, but is not limited to, “any information

   concerning the substance, purport, or meaning of that communication.”           Fla. Stat. Ann. §

   934.02(7).

          74.     The FSCA defines “electronic communication” as “any transfer of signs, signals,

   writing, images, sounds, data, or intelligence of any nature transmitted in whole or in part by a

   wire, radio, electromagnetic, photoelectronic, or photooptical system that affects intrastate,

   interstate, or foreign commerce….” Fla. Stat. Ann. § 934.02(12).

          75.     Unlike “oral communications” under the FSCA, “electronic communications” have

   no expectation of privacy requirement. See Fla. Stat. Ann. § 934.02(2) (“‘Oral communication’

   means any oral communication uttered by a person exhibiting an expectation that such

   communication is not subject to interception under circumstances justifying such expectation and

   does not mean any public oral communication uttered at a public meeting or any electronic

   communication.”).

          76.     The equipment (i.e., session replay software) utilized by Defendant to intercept

   Plaintiff’s and the Class members’ electronic communications constitute an apparatus, electronic,

   or other device under the FSCA as (1) it is not a telephone or telegraph equipment, or any

   component thereof; and/or (2) it was not furnished to Defendant by a provider of wire or electronic

   communication services. Fla. Stat. Ann. § 934.02(4). Additionally, courts unanimously hold that



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   software constitutes a “device” for purposes of applying wiretap statues. See, e.g, United States v.

   Barrington, 648 F.3d 1178, 1203 (11th Cir. 2011) (accepting that a keylogger software could be

   considered a device); Luis v. Zang, 833 F.3d 619, 630 (6th Cir. 2016) (accepting that a software

   could be a “device” for the purpose of the Wiretap Act); In re Carrier IQ, Inc., 78 F. Supp. 3d

   1051, 1087 (N.D. Cal. 2015) (concluding that a software was an “electronic, mechanical or other

   device”); Klumb v. Goan, 884 F. Supp. 2d 644, 661-62 (E.D. Ten. 2012) (analyzing spyware

   software as a device under Wiretap Act); Shefts v. Petrakis, 2012 U.S. Dist. LEXIS 130542, 2012

   WL 4049484, at *8-9 (C.D. Ill. 2012) (analyzing software as a device under the Wiretap Act).

          77.     Defendant violated § 934.03(1)(a) of the FSCA by intentionally intercepting

   Plaintiff’s and the Class members’ electronic communications when they visited Defendant’s

   website.

          78.     Defendant intentionally intercepted Plaintiff’s and the Class members’ electronic

   communications without their prior consent.

          79.     Upon information and belief, Defendant used or attempt to use the electronic

   communications it intercepted in order to market its services and goods to Plaintiff and the Class

   members.

          80.     Although not required to state a claim under the FSCA, Plaintiff and the Class

   members had a reasonable expectation of privacy during their visits to Defendant’s website, which

   Defendant violated by intentionally intercepting their electronic communications with the website.

          81.     As a result of Defendant’s conduct, and pursuant to § 934.10 of the FSCA, Plaintiff

   and the other members of the putative Class were harmed and are each entitled to “liquidated

   damages computed at the rate of $100 a day for each day of violation or $1,000, whichever is

   higher[.]” Fla Stat. Ann. § 934.10(b).



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          82.       Plaintiff is also entitled to “reasonable attorney’s fees and other litigation costs

   reasonably incurred.” Fla Stat. Ann. § 934.10(d).

          83.       Plaintiff and the Class members are also entitled to an injunction.

          WHEREFORE, Plaintiff, on behalf of herself and the other members of the Class, prays

   for the following relief:

          a.        An order certifying the Class and appointing Plaintiff as Class Representative and

   his counsel as Class Counsel;

          b.        A declaration that Defendant’s practices described herein violate the Florida

   Security of Communications Act;

          c.        An    injunction   prohibiting   Defendant     from    intercepting    the   electronic

   communications of individuals visiting Defendant’s website without their prior knowledge and

   consent;

          d.        An award of actual damages, statutory damages, liquidated damages, and/or

   punitive statutory damages;

          e.        An aware of reasonable attorney’s fees and costs; and

          f.        Such further and other relief the Court deems reasonable and just.

                                             JURY DEMAND

              Plaintiff and Class Members hereby demand a trial by jury.

                               DOCUMENT PRESERVATION DEMAND

          Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

   databases or other itemizations associated with the allegations herein, including all records, lists,

   electronic databases or other itemizations in the possession of any vendors, individuals, and/or

   companies contracted, hired, or directed by Defendant to assist in sending the alleged communications.



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   Dated: April 15, 2021

                                            Respectfully Submitted,

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